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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

   TRAXCELL TECHNOLOGIES, LLC,                 §
                                               §
         Plaintiff,                            §
                                               §    Case No. 2:18-cv-00412-RWS-RSP
   v.                                          §
                                               §
    NOKIA SOLUTIONS AND                        §
   .NETWORKS US LLC ET AL,                     §
                                               §
         Defendants.                           §

                                        ORDER

        The Court, having considered Traxcell Technologies’ Unopposed Motion for Leave

  and Extension of Time to File Response to Defendant T-Mobile’s Motion to Dismiss

  (Dkt. No. 40), is of the opinion it should be GRANTED. Accordingly, it is

  ORDERED that the Plaintiff may file its Response to T-Mobile’s Motion to Dismiss

  (Dkt. No. 33) by April 17, 2019.
          SIGNED this 3rd day of January, 2012.
         SIGNED this 5th day of April, 2019.




                                                   ____________________________________
                                                   ROY S. PAYNE
                                                   UNITED STATES MAGISTRATE JUDGE
